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                                      IN THE UNITED STATES DISTRICT COURT
                                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA

                              v.                                Criminal No. 20-377

 JASON EVANS

              APPLICATION AND ORDER FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM


        The undersigned Assistant United States Attorney hereby applies to the Court for the issuance of a writ of
habeas corpus ad prosequendum, and avers:

         1.       Name of Detainee: Jason Evans, Year of Birth: 1976, White, Male.

         2.       Detained by: SCI Albion.

         3.       Detainee is charged in this district by Information, charging detainee with violating Title 18, United
States Code, Section 922(g)(1).

         4.       Detainee is presently confined in the SCI Albion, Albion, PA, awaiting a disposition of state charges.

          5.       The above case is set for Sentencing at Pittsburgh, PA on Thursday, April 7, 2022, at 1 PM, and it
shall therefore be necessary for detainee to appear via video teleconference at that time.

         6.       The Warden of the SCI Albion, Albion, PA has no objection to the granting of this petition.



                                                           /s/ Rebecca L. Silinski
                                                           REBECCA L. SILINSKI
                                                           Assistant U.S. Attorney
                                                           PA ID No. 320774


                                                       ORDER

The above Application is granted and the above-named custodian, as well as the United States Marshal for this district,
are hereby ORDERED to produce the named detainee on the date and at the time recited above, and, when detainee
shall no longer be needed before the Court, detainee shall be returned to the above-named custodian.




DATE                                                    UNITED STATES DISTRICT JUDGE

cc:      United States Attorney
